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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 NETLIST, INC.,                            )
                                           )
               Plaintiff,                  )
                                           )    Case No. 2:22-cv-293-JRG
       vs.                                 )
                                           )    JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS CO, LTD;              )    (Lead Case)
 SAMSUNG ELECTRONICS AMERICA,              )
 INC.; SAMSUNG SEMICONDUCTOR               )
 INC.,                                     )
                                           )
               Defendants.                 )

 NETLIST, INC.,                            )
                                           )
               Plaintiff,                  )
                                           )
                                                Case No. 2:22-cv-294-JRG
       vs.                                 )
                                           )
                                                JURY TRIAL DEMANDED
 MICRON TECHNOLOGY, INC.;                  )
 MICRON SEMICONDUCTOR                      )
 PRODUCTS, INC.; MICRON                    )
 TECHNOLOGY TEXAS LLC,                     )
                                           )
               Defendants.                 )

             PLAINTIFF NETLIST, INC.’S SUR-REPLY IN OPPOSITION TO
                      SAMSUNG’S MOTION TO STAY (Dkt. 88)
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         A.      Netlist Will Suffer Significant Prejudice from a Stay

         Samsung claims that its requested stay will only cause a “short delay” and “would not prejudice

 Netlist.” Dkt. 93 at 4. Samsung is wrong. Samsung does not clarify the exact scope of the stay it is

 seeking, and instead repeats the vague language requesting “a final decision in the IPRs currently

 pending at the PTAB with respect to each of the asserted patents.” Dkt. 93 at 5 (emphasis added).

 Samsung’s purposefully vague request would result in an essentially unlimited stay, undermining both

 Netlist’s rights and the public interest in speedy resolution of disputes. See Dkt. 91 (Opposition) at 5

 (citations omitted); B.E. Tech. LLC v. Twitter, Inc., 2023 WL 3478567, at *3 (D. Del. May 16, 2023)

 (“IPR proceedings are statutorily limited in duration, while appeals to the Federal Circuit are not . . .

 For that reason, granting a stay pending appeal subjects the party opposing the stay to an open-ended

 period of delay, rather than a time-limited period, as in the case of a stay pending an IPR proceeding.”).

 Even if Samsung only moved to stay this case until resolution of the IPR proceedings, Netlist would

 still be prejudiced. The FWDs for the ’912, ’417, and ’215 patents are not due until August 2024 (or

 December 2024 if Netlist’s motion for leave to add the ’608 patent is granted)—months after the trial

 starting on April 15, 2024.

         Samsung also claims that its request to stay is appropriate because Netlist only identified

 “generic” prejudice caused by a “mere delay.” Reply at 4. This is not true. As Netlist explained in its

 Opposition, Netlist sells products that directly compete with Samsung’s accused products, including

 those manufactured by Netlist’s licensee, SK hynix. Opp. at 5. Because Samsung is gaining an unfair

 competitive advantage in the marketplace by refusing to compensate Netlist for its use of Netlist’s

 patents, any delay in adjudicating Netlist’s claims would be highly prejudicial. Samsung’s cavalier

 dismissal of Netlist’s right to seek an injunction on the grounds that the complaint refers more broadly

 to “equitable relief” is misplaced—an injunction is one type of “equitable” relief and is thus squarely

 within the scope of Netlist’s claims. See also Opp. at 5-6. Samsung also ignores the facts related to the

 patents—which are nearing expiration—and the accused products, some of which are at the end of

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 their lives. If the Court grants Samsung’s requested stay, it would all but foreclose Netlist from seeking

 equitable relief (i.e., an injunction), and allow Samsung to continue to permanently damage Netlist’s

 position in the marketplace.1

         Samsung next improperly faults Netlist for the alleged delay in bringing this Action. Reply at

 5. After Netlist terminated the parties’ Joint Development and License Agreement on July 15, 2020,

 and brought the breach of contract action against Samsung in the Central District of California, Netlist

 reached out to Samsung for a potential licensing negotiation. Ex. 1. Rather than engage with Netlist

 for a good-faith discussion, Samsung filed a declaratory judgment action in the District Court of

 Delaware the day after the C.D. Cal. court entered a summary judgment order finding that Netlist

 properly terminated the JDLA as a matter of law. Samsung v. Netlist, No. 21-cv-1453, Dkt. 1 (D. Del.

 Oct. 15, 2021). The Northern District of California stayed Netlist’s disputes with Samsung’s customer

 relating to the ’912 patent on July 13, 2022, Dkt. 23-6; and the District Court of Delaware dismissed

 Samsung’s declaratory judgment claims relating to the ’912 patent on August 1, 2022. Samsung v.

 Netlist, Inc., No. 21-cv-1453, Dkt. 37 (D. Del. Aug. 1, 2022). After that, Netlist promptly filed this

 instant Action on August 1, 2022. Dkt. 1; Dkt. 21 at 8 (Netlist’s Opposition to Samsung’s Motion to

 Sever or Stay). Samsung’s disparagement of Netlist’s amended complaint asserting the ’217 and ’415

 patents also lacks merit as Netlist timely filed the amendment pursuant to the Federal Rules of Civil

 Procedure and this Court’s Docket Control Order. Samsung never moved to strike or dismiss Netlist’s

 amended complaint. Samsung’s assertion that Netlist delayed filing this Action thus has no connection




         1
             Samsung argues that Netlist’s failure to seek preliminary injunction undermines its showing
 of prejudice caused by a delay. Reply at 5 n.3. However, as the Federal Circuit explained, “there could
 be a variety of reasons that a patentee does not move for a preliminary injunction.” VirtualAgility Inc.
 v. Salesforce.com, Inc., 759 F.3d 1307, 1319 (Fed. Cir. 2014) (addressing motion to stay pending instituted
 reexamination proceeding). For example, the Court’s order consolidating Netlist’s parallel actions
 against Micron and Samsung defendants and the fast-track trial schedule are important to address
 Netlist’s requested damages and equitable reliefs.

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 to reality in light of the parties’ business and litigation history.

         Furthermore, this Court routinely denies stays even where a plaintiff does not practice its own

 patents, does not compete with the defendant, and only seeks monetary damages. See, e.g., Koninklijke

 KPN N.V. v. Telefonaktiebolaget LM Ericsson, 2022 WL 17484264, at *2 (E.D. Tex. July 7, 2022) (“[T]his

 Court has repeatedly found that a delay in recovering monetary damages is ‘far from non-prejudicial’

 and is entitled to weight under this factor”) (citing Intell. Ventures II LLC v. Sprint Spectrum, L.P., 2018

 WL 11363368, at *1 (E.D. Tex. Nov. 19, 2018); Solas OLED Ltd. v. Samsung Display Co., 2020 WL

 4040716, at *2 (E.D. Tex. July 17, 2020)). Here, the potential prejudice to Netlist is far greater, as

 Netlist does practice its patents, competes with Samsung, and seeks equitable relief.

         B.       The IPRs Will Not Simplify Issues in This Case

         Samsung makes the conclusory argument that “resolution of IPR proceedings is likely to

 simplify the issues.” See Reply at 2-3. However, Samsung did not provide any concrete example

 showing how the IPR decisions would shed any light on claim construction, resolve any specific prior

 art references, or otherwise meaningfully simplify this Action. As Netlist detailed in its Opposition,

 Dkt. 91 at 6-9, Samsung raised significantly broader invalidity grounds before this Court than in its

 IPR petitions. Further, Samsung’s attempt to get around the statutory estoppel effect by tagging its

 alleged system art to other references it reasonably could have, or already has, raised in the IPR

 proceedings undermines its simplification argument. Id.

         Presently, no institution decision has been rendered for the ’417, ’215, or ’608 patents. Even

 the cases Samsung cites make clear that the likelihood of simplification of the district court litigation

 is “far more speculative before the PTAB decides whether to institute inter partes review.” NFC Tech.

 LLC v. HTC Am., Inc., 2015 WL 1069111, at *4 (E.D. Tex. Mar. 11, 2015); see also CyWee Grp. Ltd. v.

 Samsung Elecs. Co., WL 11023976, at *5 (E.D. Tex. Feb. 14, 2019) (“This Court (and many others) have

 made clear that an application for a stay after an IPR petition has been filed but before the petition

 has been granted is very likely to be denied.”).

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         Even excluding Netlist’s pending motion to add the ’608 patent from consideration, IPR

 proceedings for two of the three patents-in-suit have not been instituted, which weighs against a stay.

 See Cellular Commc’ns Equip. LLC v. HTC Corp., 2018 WL 4261194, at *3 (E.D. Tex. May 8, 2018)

 (“Since IPR has been instituted on only two of the three patents-in-suit, this factor weighs against a

 stay.”); Trover Grp., Inc. v. Dedicated Micros USA, 2015 WL 1069179, at *7 (E.D. Tex. Mar. 11, 2015) (“It

 would be a waste of judicial resources for this Court to attempt to anticipate whether the PTAB will

 find that it is reasonably likely that at least one of the claims of the ’346 patent is invalid.”).

         Moreover, the PTAB has instituted IPR on only one claim, claim 16, of the ‘912 patent. See

 Dkt. 88-4 at 59. Netlist has asserted 64 claims from the ‘912 patent against Samsung in this Action.

 Samsung’s argument that these 63 additional claims are “immaterial to whether this case should be

 stayed,” is based on speculation regarding the outcome of Samsung’s still pending motion for

 summary judgment. Dkt. 93 at 3. Netlist has opposed this motion. Dkt. 92 at 1. As the case currently

 stands, the instituted IPR may resolve a single claim of the ‘912 patent, leaving the 63 other claims

 associated with that patent and all claims under the ’215 and ’417 patents unresolved, which strongly

 weighs against a stay. See Saint Lawrence Commc’ns LLC v. ZTE Corp., 2017 WL 3396399, at *2 (E.D.

 Tex. Jan. 17, 2017) (because “the PTAB has instituted IPR on only one of five asserted patents, which

 amounts to 6 of 38 asserted claims . . . the pending IPR will have a negligible impact on potentially

 streamlining this case.”).

         Because Samsung’s IPRs only cover a fraction of the asserted claims and invalidity challenges

 raised by Samsung, even “[i]nvalidation of all . . . instituted claims would not meaningfully simplify

 this case where . . . invalidity contentions stretch beyond the scope of the IPR proceedings and the

 majority of the asserted claims would remain to be resolved.” Maxell Ltd. v. Apple Inc., No. 2020 WL

 10458088, at *3 (E.D. Tex. Nov. 17, 2020) (denying motion to stay); see also Intell. Ventures II LLC v.

 FedEx Corp., 2017 WL 4812434, at *2 (E.D. Tex. Oct. 24, 2017) (because “the instituted IPRs only

 cover a narrow slice of the invalidity arguments Defendants have raised in this case,” the PTAB

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 decision “leaves [defendants’] other defenses, at least with respect to the uninstituted claims, in need

 of resolution”).

         C.         The Stage of Litigation Does Not Weigh in Favor of Granting a Stay

         Samsung does not dispute that the parties have already spent significant resources during

 discovery and claim construction, including, for example, document production, exchanging discovery

 letters, enforcing third party discovery, and exchanging claim construction positions. Samsung also

 does not dispute that none of the FWDs of the IPR proceedings would issue until after the scheduled

 jury selection date. The case Samsung cites, CyWee, is readily distinguishable. In CyWee, the PTAB

 instituted IPR petitions as to each of the patents-in-suit, and the plaintiff “consented to stays in five

 of the other six cases that are concurrently pending.” CyWee, WL 11023976, at *1. Meanwhile, CyWee

 was a “non-practicing entity focused on patent licensing” and did not “currently produce any

 products” at the time of the litigation. Id. at *5. Unlike CyWee, here, the USPTO has not issued

 institution decisions as to all patents-in-suit; Netlist practices the asserted patents, sells products

 directly competing with Samsung’s accused products, and consistently opposed all motions to stay its

 district court litigations against Samsung and other accused infringers.2

         For the reasons discussed above, Samsung’s motion to stay should be denied.




 Dated: July 17, 2023                              Respectfully submitted,

                                                   /s/ Jason G. Sheasby

                                                   Samuel F. Baxter
                                                   Texas State Bar No. 01938000

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   See, e.g. Dkt. 21; Netlist v. Micron, No. 22-cv-294, Dkt. 27 (E.D. Tex.) (opposing Micron’s motion to
 stay); see also Netlist v. Samsung, No. 21-cv-463, Dkts. 46, 85, 140, 459 (E.D. Tex.); (opposing Samsung’s
 motions and renewed motions to stay); Netlist v. Micron, No. 22-cv-203, Dkt. 94 (E.D. Tex) (opposing
 Micron’s motion to stay).

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                                    CERTIFICATE OF SERVICE

           I hereby certify that, on July 17, 2023, a copy of the foregoing was served to all counsel of

 record.

                                                         /s/ Yanan Zhao
                                                         Yanan Zhao




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